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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA



 IN RE PHILIPS RECALLED CPAP,
 BILEVEL PAP, AND MECHANICAL                 Master Docket No. 21-mc-1230
 VENTILATOR PRODUCTS                         MDL No. 3014
 LITIGATION

 THIS DOCUMENT RELATES TO:

 All Actions Asserting Claims for Personal
 Injury Brought by SoClean Users


 KONINKLIJKE PHILIPS N.V., PHILIPS
 NORTH AMERICA LLC, PHILIPS
 HOLDING USA, INC., PHILIPS RS
 NORTH AMERICA LLC, and PHILIPS
 RS NORTH AMERICA HOLDING
 CORPORATION,

 Defendants / Third-Party Plaintiffs,

 -v-

 SOCLEAN, INC., and DW
 MANAGEMENT SERVICES, LLC

 Third-Party Defendants.



               THIRD-PARTY DEFENDANT SOCLEAN, INC’S
    MOTION TO DISMISS PHILIPS DEFENDANTS’ CORRECTED THIRD-PARTY
          COMPLAINT UNDER RULE 12(B)(2) OR, ALTERNATIVELY,
    MOTION TO STRIKE PHILIPS DEFENDANTS’ CORRECTED THIRD-PARTY
                    COMPLAINT UNDER RULE 14(A)(4)




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        Pursuant to to Rule 12(b)(2) of the Federal Rules of Civil Procedure, Third-Party Defendant

SoClean, Inc. (“SoClean”) moves to dismiss the Corrected Third-Party Complaint (“Third-Party

Complaint”) filed by Third-Party Plaintiffs Koninklijke Philips N.V., Philips North America LLC,

Philips Holding USA, Inc., Philips RS North America LLC, and Philips RS North America

Holding Corporation (collectively, the “Philips Defendants”), for lack of personal jurisdiction of

SoClean.

        Alternatively, SoClean moves pursuant to Rule 14(a)(4) of the Federal Rules of Civil

Procedure to strike the Third-Party Complaint on the grounds that the Third-Party Complaint

unduly complicates this litigation and lacks merit, and because the Philips Defendants will not be

unduly prejudiced by striking the Third-Party Complaint.



 Dated: October 3, 2024                                  Respectfully Submitted,


                                                         /s/ Ashley N. Rodgers
                                                         Michelle R. Gilboe
                                                         Admitted Pro Hac Vice
                                                         Ashley N. Rodgers
                                                         PA State Bar No. 314017

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                                CERTIFICATE OF SERVICE

        This is to certify that on the 3rd day of October, 2024, the foregoing document was

electronically filed with the Clerk of the United States District Court for the Western District of

Pennsylvania, using the CM/ECF system, which will send notification of such filing to all counsel

of records. This document was filed electronically and is available for viewing and downloading

from the ECF system.


                                                  /s/ Ashley N. Rodgers
                                                  Michelle R. Gilboe
                                                  Admitted Pro Hac Vice
                                                  Ashley N. Rodgers
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